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                                                                              United States District Court
                                                                                Southern District of Texas

                                                                                   ENTERED
                                                                               September 24, 2018
                                                                                David J. Bradley, Clerk
                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                           GALVESTON DIVISION
`
TRAVIS JAMES MULLIS,                           §
                                               §
        Petitioner,                            §
                                               §
v.                                             § CIVIL ACTION NO. G-13-121
                                               §
LORIE DAVIS, Director, Texas Department §
of Criminal Justice, Correctional Institutions §
Division,                                      §
                                               §
        Respondent.                            §

                                        ORDER

       On July 23, 2018, Mullis filed a Pro-Se Motion to Waive Appeals and Terminate

Counsel. (Docket Entry No. 105). In a telephonic hearing held on September 12, 2018,

the Court questioned Mullis and found that it is appropriate to begin the process

necessary to determine his competency to waive federal review and dismiss his attorneys.

The Court therefore, ORDERS that Mullis be examined by:

                             Dr. Timothy James Proctor
                          11882 Greenville Avenue, Suite 107
                                  Dallas, Texas 75243
                             (972) 644-8686 (Telephone)
                                 (972) 644-8688 (Fax)

        Dr. Proctor will determine whether Mullis is competent to waive federal habeas

review, evaluating “whether he has capacity to appreciate his position and make a

rational choice with respect to continuing or abandoning further litigation or on the other

hand whether he is suffering from a mental disease, disorder, or defect which may



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substantially affect his capacity in the premises.” Lopez v. Stephens, 783 F.3d 524, 525

(5th Cir. 2015)

       The Court ORDERS that the warden of the Polunsky Unit, or whosoever may

have custody of Mullis, shall permit Dr. Proctor to visit and examine Mullis for the

purpose of this competency evaluation.

       The Court ORDERS the parties to provide Dr. Proctor any necessary records.

       Dr. Proctor shall, within a reasonable time of conducting the examination

discussed above, provide all parties and the Court with a written report describing his

findings upon examination of Mullis.

       A court-appointed expert “is entitled to a reasonable compensation.” FED. R.

EVID. 706(c). A district court may tax the “compensation of court appointed experts” as

costs pursuant to 28 U.S.C. § 1920(6). The Court assigns the cost for Dr. Proctor’s

evaluation to be shared equally between the parties. Dr. Proctor may bill each party for

half the cost of his services.

       The Clerk will enter this Order and send copies to the attorneys of record, Dr.

Timothy James Proctor. and Travis James Mullis, TDCJ Number 999563, Allan B.

Polunsky Unit, 3872 FM 350 South, Livingston, TX 77351.

       SIGNED at Galveston, Texas, this 24th day of September, 2018.


                                             ___________________________________
                                             George C. Hanks Jr.
                                             United States District Judge




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